                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS



       STATE OF CALIFORNIA, et al.

                     Plaintiffs,

                         v.                                 Civil Action No.: 25-cv-12019

      ROBERT F. KENNEDY, JR., et al.,

                    Defendants.



                              DECLARATION OF ALLYSON SLATER

       I, Allyson Slater, an attorney admitted to practice before this Court, do hereby state the

following under penalty of perjury, pursuant to 28 U.S.C. § 1746:

       1.        I am the Director of the Reproductive Justice Unit in the Office of the Attorney

General for the Commonwealth of Massachusetts, and I appear on behalf of the Commonwealth

of Massachusetts in this action.

       2.        I submit this declaration in support of Plaintiff States’ Memorandum of Law in

Support of their Motion for a Preliminary Injunction and Stay.

       3.        The facts set forth herein are based upon my personal knowledge or a review of

the files in my possession.

       4.        Attached hereto as Exhibit 1 is a true and correct copy of the Declaration of

Sterling Gavette.

       5.        Attached hereto as Exhibit 2 is a true and correct copy of the Declaration of

Jeffery Tegen.




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          6.    Attached hereto as Exhibit 3 is a true and correct copy of the Declaration of

Jessica Altman.

          7.    Attached hereto as Exhibit 4 is a true and correct copy of the Declaration of

Michael Conway.

          8.    Attached hereto as Exhibit 5 is a true and correct copy of the Declaration of James

Michel.

          9.    Attached hereto as Exhibit 6 is a true and correct copy of the Declaration of

Steven M. Constantino.

          10.   Attached hereto as Exhibit 7 is a true and correct copy of the Declaration of

Trinidad Navarro.

          11.   Attached hereto as Exhibit 8 is a true and correct copy of the Declaration of

Jennifer Epstein.

          12.   Attached hereto as Exhibit 9 is a true and correct copy of the Declaration of

Morgan Winters.

          13.   Attached hereto as Exhibit 10 is a true and correct copy of the Declaration of H.

Schneider.

          14.   Attached hereto as Exhibit 11 is a true and correct copy of the Declaration of

Marissa Woltmann.

          15.   Attached hereto as Exhibit 12 is a true and correct copy of the Declaration of M.

Eberle.

          16.   Attached hereto as Exhibit 13 is a true and correct copy of the Declaration of

Joseph A. Garcia.




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         17.     Attached hereto as Exhibit 14 is a true and correct copy of the Declaration of

Sarah Adelman.

         18.     Attached hereto as Exhibit 15 is a true and correct copy of the Declaration of

Jeffrey Brown.

         19.     Attached hereto as Exhibit 16 is a true and correct copy of the Declaration of

Elizabeth Caulum.

         20.     Attached hereto as Exhibit 17 is a true and correct copy of the Declaration of John

Gary Huck.

         21.     Attached hereto as Exhibit 18 is a true and correct copy of the Declaration of

Justin Zimmerman.

         22.     Attached hereto as Exhibit 19 is a true and correct copy of the Declaration of

Colin Baillio.

         23.     Attached hereto as Exhibit 20 is a true and correct copy of the Declaration of

Danielle Holahan.

         24.     Attached hereto as Exhibit 21 is a true and correct copy of the Declaration of

Michael Humphreys.

         25.     Attached hereto as Exhibit 22 is a true and correct copy of the Declaration of

Lindsay M. Lang.

         26.     Attached hereto as Exhibit 23 is a true and correct copy of the Declaration of Jane

Beyer.

         27.     Attached hereto as Exhibit 24 is a true and correct copy of the Declaration of

Ingird Urley.




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         28.    Attached hereto as Exhibit 25 is a true and correct copy of the Declaration of

Sarah Smith.

         29.    Attached hereto as Exhibit 26 is a true and correct copy of the Declaration of T.K.

Keen.

         30.    Attached as an appendix is a list of the exhibits attached to this declaration, in

chart form.

         Signed under the penalties of perjury on this 17th day of July 2025 in Boston,

Massachusetts.

Dated:          July 17, 2025
                Boston, MA


                                               /s/ Allyson Slater
                                               Allyson Slater
                                               Director, Reproductive Justice Unit
                                               Office of the Attorney General




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                                    APPENDIX
Exhibit                                   Description
 No.
  1.      Declaration of S. Gavette
          Arizona Department of Insurance and
          Financial Institutions
  2.      Declaration of J. Tegen
          Arizona HealthCare Cost Containment System Administration
  3.      Declaration of J. Altman
          Covered California
  4.      Declaration of M. Conway
          Colorado Division of Insurance
  5.      Declaration of J. Michel
          Connecticut Health Insurance Exchange dba Access Health CT
  6.      Declaration of S. Costantino
          Delaware Department of Health and Social Services
  7.      Declaration of T. Navarro
          Delaware Department of Insurance
  8.      Declaration of J. Epstein
          Illinois Department of Public Health
  9.      Declaration of M. Winters
          Illinois Department of Insurance
  10.     Declaration of H. Schneider
          Maine Department of Health and Human Services
  11.     Declaration of M. Woltmann
          Massachusetts Health Connector
  12.     Declaration of M. Eberle
          Maryland Health Benefit Exchange
  13.     Declaration of J. Garcia
          Michigan Department of Insurance and Financial Services
  14.     Declaration of S. Adelman
          New Jersey Department of Human Services
  15.     Declaration of J. Brown
          New Jersey Department of Health
  16.     Declaration of E. Caulum
          MNsure
  17.     Declaration of J. Huck
          University Hospital of Newark, New Jersey
  18.     Declaration of J. Zimmerman
          New Jersey Department of Banking and Insurance
  19.     Declaration of C. Baillio
          New Mexico Health Care Authority
  20.     Declaration of D. Holahan
          New York State of Health
  21.     Declaration of M. Humphreys

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      Pennsylvania Insurance Department
22.   Declaration of L. Lang
      HealthSource of Rhode Island
23.   Declaration of J. Beyer
      Washington State Office of the Insurance Commissioner
24.   Declaration of I. Urley
      Washington Health Benefit Exchange
25.   Declaration of S. Smith
      Wisconsin Office of the Commissioner of Insurance
26.   Declaration of T. Keen
      Oregon Dept. of Insurance




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                                CERTIFICATE OF SERVICE

         I, Allyson Slater, certify that counsel for or on behalf of plaintiffs have submitted the
foregoing document with the clerk of court for the District of Massachusetts, using the electronic
case filing system of the Court. Counsel for Plaintiffs hereby certify that they have served all
parties electronically or by another manner authorized by Fed. R. Civ. P. 5(b)(2).


                                             /s/ Allyson Slater
                                             Allyson Slater
                                             Director, Reproductive Justice Unit
                                             Office of the Attorney General




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